Case 1:01-cr-00003-LEW Document 202 Filed 10/08/13 Page 1 of 2                  PageID #: 2190




                           UNITED STATES DISTRICT COURT
                                   District of Maine


DENNIS J. MOONEY,                            )
                                             )
            Movant,                          )
                                             )
v.                                           )      No. 1:01-cr-00003-GZS
                                             )          1:03-cv-00210-GZS
UNITED STATES OF AMERICA,                    )
                                             )
            Respondent.                      )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on August 30, 2013, her

Recommended Decision (ECF No. 200). Movant filed his Objection to the Recommended Decision

(ECF No. 201) on September 19, 2013.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that

no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
               is hereby AFFIRMED.
Case 1:01-cr-00003-LEW Document 202 Filed 10/08/13 Page 2 of 2           PageID #: 2191




       2.     It is hereby ORDERED that Movant’s Motion to Reopen his 28 U.S.C. §2255
              Motion (ECF No. 198) is DENIED WITHOUT PREJUDICE to his right to file a
              new §2255 Motion should he ever obtain the First Circuit Court of Appeal’s
              certification to do so.




                                               /s/George Z. Singal_____________
                                               U.S. District Judge

Dated this 8th day of October, 2013.
